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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

                                   )
JOCELYN MAMMEN,                    )
                                   )
Plaintiff,                         )
                                   )
       v.                          )      Case No.: 0:18-CV-00640-WMW-ECW
                                   )
HARTFORD LIFE &                    )      Judge Wilhelmina M. Wright
ACCIDENT INSURANCE                 )      Magistrate Judge Elizabeth Cowan Wright
COMPANY,                           )
                                   )
Defendants.                        )
                                   )

                               ORDER OF DISMISSAL

       This matter coming to be heard on the parties’ Stipulation of Dismissal, the Court

being fully advised in the premises, it is HEREBY ORDERED THAT:

       The above-entitled action is dismissed with prejudice as between Plaintiff and

Defendant, with each party to bear its own attorneys’ fees and costs.

SO ENTERED:


DATED:
                                          United States District Court Judge
